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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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 IN RE: VALERIANO DIVIACCHI                      *      Civil Action No. 1:16-mc-91020-IT
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                                 MEMORANDUM & ORDER

                                         March 9, 2023
TALWANI, D.J.

        Valeriano Diviacchi moves for reinstatement to the bar of the District of Massachusetts.

See Mot. for Reinstatement [Doc. No. 14]. For the following reasons, the motion is denied.

   I.      Background

        On November 2, 2016, the Massachusetts Supreme Judicial Court (“SJC”) affirmed the

order of a single justice of that court suspending Diviacchi from practicing law for 27 months

beginning January 2, 2016, as recommended by the Massachusetts Board of Bar Overseers

(“Board”). See In re Diviacchi, 475 Mass. 1013, 1021, 62 N.E.3d 38, 39–40, 46 (2016). On

February 21, 2017, this court imposed reciprocal discipline under Local Rule 83.6.9. See

Judgment [Doc. No. 13]. The court ordered that Diviacchi notify the court upon termination of

the period of suspension ordered by the SJC in accordance with Local Rule 83.6.10, and that he

may resume practice in this court upon a showing of good standing as an attorney before the

SJC. See id. at 2.
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         On December 30, 2022, Diviacchi filed this Motion for Reinstatement seeking

reinstatement to the practice of law in this court, or, in the alternative, a reinstatement hearing.

See Mot. for Reinstatement 1–2 [Doc. No. 14].

   II.      Discussion

         Diviacchi asserts that he has satisfied the requirements for reinstatement because “the

period of suspension has expired; and [he] has complied with all requirements of any order of

suspension.” See id. at 1 (citing L.R. 83.6.10(a)).

         The court’s order of suspension required “a showing [of] good standing as an attorney

before the [SJC]” to resume practice. Judgment 2 [Doc. No. 13]. Diviacchi concedes that the SJC

affirmed the denial of his reinstatement, and that he is still suspended in Massachusetts. See Mot.

for Reinstatement 1, 7 [Doc. No. 14]; see also In re Valeriano Diviacchi, 491 Mass. 1003, 1005–

08, 198 N.E.3d 458, 462–65 (2022) (affirming decision of a single justice of that court denying

reinstatement, as recommended by the Board because “Diviacchi failed to carry his heavy burden

to establish that he has redeemed himself and become a person proper to be held out by the court

to the public as trustworthy,” and because he had not undertaken formal continuing legal

education) (internal quotations omitted); id. at 1004–05 (finding Diviacchi had not demonstrated

his moral qualifications, his competency, or that his resumption of practice would not be

detrimental to the integrity of the bar, as required for reinstatement under S.J.C. Rule 4.01,

§ 18(5)). Where Diviacchi has not shown that he is in good standing as an attorney before the

SJC, he has not complied with all requirements of his suspension order and cannot be reinstated.

         Diviacchi also contests the requirements of the court’s Judgment [Doc. No. 13], arguing

that the condition “that he may resume practice in this court upon a showing that he is in good

standing as an attorney before the Supreme Judicial Court” is a “de facto denial of restatement



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and a de facto disbarment” where Diviacchi “refus[es] to admit guilt” for what he considers to be

incorrect findings by the SJC. See Mot. for Reinstatement 1 [Doc. No. 14]. As an initial matter,

this requirement does not impose an additional burden on Diviacchi where Local Rule

83.6.10(a)(2) concerning reinstatement requires compliance with “all requirements of any order

of suspension,” (emphasis added), and where the SJC has denied reinstatement.

        To the extent that Diviacchi disagrees with the court’s 2017 judgment, Diviacchi’s

challenge is also untimely. An appeal from a judgment or order of reciprocal discipline may be

taken in accordance with the Federal Rules of Appellate Procedure, see L.R. 83.6.5(l)(1),

83.6.9(a), (c), which require that an attorney file a notice of appeal within 30 days of the entry of

judgment, see Fed. R. App. P. 4(a)(1)(A); see also In re Bailey, 450 F.3d 71, 72–73 (1st Cir.

2006) (considering district court decision to disbar a final judgment and appellate review

appropriate). Here, more than 30 days have passed since this court entered final judgment in

February 2017. See L.R. 83.6.5(i)(8) (“Any order imposing attorney discipline shall be entered

as a final judgment under Fed. R. Civ. P. 54.”). To the extent that Diviacchi seeks to appeal the

court’s Judgment [Doc. No. 13], he has failed to timely file a notice of appeal.

        The court notes further that Diviacchi is not currently eligible for admission to the bar of

this district where he is not a member of the bar in good standing in Massachusetts. See L. R.

83.5.1(a)(1) (“An attorney is eligible for admission to the bar of this district if the attorney . . . is

a member of the bar in good standing in Massachusetts[.]”); see also L.R. 83.5.3(b)(1) (barring

limited situations not applicable here, “no attorney may appear and practice if he or she . . . is not

a member of the bar in good standing in every jurisdiction in which the attorney has been

admitted to practice.”); see also In re Sheridan, 2013 WL 6839109, at *3 (D. Mass. Dec. 24,

2013) (explaining local rules require good standing before the SJC).



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          Finally, the court concludes that oral argument will not assist the court in resolving this

matter and declines Diviacchi’s alternative request for a hearing.

   III.      Conclusion

          For the foregoing reasons, Diviacchi’s Motion for Reinstatement [Doc. No. 14] is

DENIED.

          IT IS SO ORDERED

          March 9, 2023                                         /s/ Indira Talwani
                                                                United States District Judge




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